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                           Marilyn Mosby
                Summary of Net Inflows and Net Outflows
                     For the Years 2019 and 2020




                               2019          2020         Difference
Total Inflows                154,948       256,542         101,594

Less: Total Outflows         154,652       210,379         55,727

Net Inflow                     296         46,163          45,867
           Case 1:22-cr-00007-LKG Document 90-2 Filed 07/29/22 Page 2 of 6




                              Marilyn Mosby
                  Comparison of Net Inflows to Net Outflows


$300,000



$250,000



$200,000


                                                             $ 256,542    $ 210,379
$150,000


               $ 154,948    $ 154,652
$100,000



 $50,000



      $-
                     2019                                          2020

                                        Inflows   Outflows
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                           Marilyn Mosby
                         Summary of Inflows
                     For the Years 2019 and 2020




                              2019         2020       Difference

Payroll - Mayor and City    141,450       151,268       9,818

Miscellaneous                13,498       24,274       10,776

Nationwide Retirement          0          81,000       81,000

Total Inflows               154,948       256,542      101,594
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                                          Marilyn Mosby
                                        Summary of Inflows


                                                                                   Total $256,542
$300,000



$250,000
                                                                              $81,000
                     Total $154,948

$200,000
                          $0
                                                                              $24,274
                     $13,498
$150,000



$100,000                                                                      $151,268
                     $141,450


 $50,000



     $0
                  2019                                                    2020

                               Salary    Miscellaneous   Nationwide Distribution
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                          Marilyn Mosby
                     Summary of Net Outflows
                    For the Years 2019 and 2020




                              2019        2020      Difference
Cash Withdrawals             1,329        658         (671)

Credit Card Payments        68,032       70,066       2,034

Loans                       51,009       29,353      (21,656)

Miscellaneous               34,282       30,482       (3,800)
        Subtotal            154,652     130,559      (24,093)

Kissimmee, FL House           0          79,820      79,820
Total Outflows              154,652     210,379      55,727
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                                    Marilyn Mosby
                                Credit Card Summary
                              For the Years 2019 and 2020


                                                  2019         2020    Difference

            Beginning Balance                $ 23,526      $ 26,441    $   2,915
                 Purchases                   $ 68,697      $ 43,899    $ (24,798)
                 Less: Payments              $ 65,782      $ 69,938    $   4,156
            Ending Balance                   $ 26,441      $     402   $ (26,039)




$70,000

$60,000

$50,000
                    $68,697       $65,782
$40,000
                                                          $43,899      $69,938
$30,000

$20,000

$10,000

     $-
                        2019                                    2020

                                      Purchases     Payments
